Case 2:22-cv-06193-MCS-RAO Document 1-1 Filed 08/31/22 Page 1 of 5 Page ID #:6
Case 2:22-cv-06193-MCS-RAO Document 1-1 Filed 08/31/22 Page 2 of 5 Page ID #:7
Case 2:22-cv-06193-MCS-RAO Document 1-1 Filed 08/31/22 Page 3 of 5 Page ID #:8
Case 2:22-cv-06193-MCS-RAO Document 1-1 Filed 08/31/22 Page 4 of 5 Page ID #:9
Case 2:22-cv-06193-MCS-RAO Document 1-1 Filed 08/31/22 Page 5 of 5 Page ID #:10
